Case 1:02-cV-01203-.]DB-tmp Document 50 Filed 05/06/05 Page 1 of 3 Page|D 66

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IN THE UNITED sTATES DISTRICT COURT \ “
FOR THE wEsTERN DISTRJCT 0F TENNESSEE 9534}, @<Lf
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*"‘/‘-’C/rso/\(/""
Plaimiff,
v. No. 02-1203-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non~dispositive motions presently pending and/or filed during the course of this litigation

IT ls so 0RDERED this 15 day of May, 2005.

 

J. DANIEL BREEN`
NIT D STATES DISTRICT JUDGE

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Honorable .1. Breeri
US DISTRICT COURT

